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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                CRIMINAL NO. 1:14CR89-4
                                                (Judge Keeley)


  KHALIL BROWN,

                   Defendant.

              ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
       FELONY CASE (DKT. NO. 601) AND SCHEDULING SENTENCING HEARING

         On October 14, 2015, the defendant, Khalil Brown (“Brown”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Twenty-

  Eight of the Indictment. Brown stated that he understood that the

  magistrate judge is not a United States District Judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of    administering   the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

         Based upon Brown’s statements during the plea hearing and the

  testimony of Sergeant John Rogers, the magistrate judge found that

  Brown was competent to enter a plea, that the plea was freely and

  voluntarily given, that he was aware of the nature of the charge
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           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.601) AND SCHEDULING SENTENCING HEARING

  against him and the consequences of his plea, and that a factual

  basis existed for the tendered plea. On October 15, 2015, the

  magistrate judge entered a Report and Recommendation Concerning

  Plea of Guilty in Felony Case (“R&R”) (dkt. no. 601) finding a

  factual basis for the plea and recommended that this Court accept

  Brown’s plea of guilty to Count Twenty-Eight of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. The parties

  did not file any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Khalil Brown’s guilty plea, and ADJUGES him GUILTY of the

  crime charged in Count Twenty-Eight of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.




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           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.601) AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.     The Probation Officer shall undertake a presentence

  investigation of KHALIL BROWN, and prepare a presentence report for

  the Court;

        2.     The Government and Brown are to provide their versions of

  the offense to the probation officer by November 13, 2015;

        3.     The presentence report is to be disclosed to Brown,

  defense counsel, and the United States on or before December 29,

  2015; however, the Probation Officer is not to disclose the

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

        4.     Counsel may file written objections to the presentence

  report on or before January 12, 2016;

        5.     The Office of Probation shall submit the presentence

  report with addendum to the Court on or before January 26, 2016;

  and

        6.     Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.601) AND SCHEDULING SENTENCING HEARING

  factual     basis    from    the   statements    or   motions,   on   or   before

  February 9, 2016.

        The magistrate judge remanded Brown to the custody of the

  United States Marshal Service.

        The    Court    will    conduct    the    sentencing   hearing    for   the

  defendant on Wednesday, February 24, 2016 at 10:30 A.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: October 30, 2015


                                          /s/ Irene M. Keeley
                                          IRENE M. KEELEY
                                          UNITED STATES DISTRICT JUDGE




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